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                    EXHIBIT 1
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UnitedHealthcare
185 Asylum Street
Cityplace I
Hartford, CT 06103

                                                                                    June 29, 2018


GA6Y8556BW

HARRIS PHARMACEUTICALINC
9090 Park Royal Drive
Fort Myers, FL 339080000

Dear Customer:
Enclosed in this package are your Group coverage documents. Depending on the type(s) of coverage you have
selected there may be one or more sets of Master Documents. Please keep all Master Documents and any
applicable amendment(s) with your other coverage records.
Please distribute one copy of the coverage document(s) to each of your covered Employees.
For your convenience, you no longer need to order document(s) for new hires. As future Employees become
covered, you will be sent a copy of the document(s) for each new employee. If an employee has misplaced their
coverage document(s), please continue to call the Customer Service Center.
If you have any questions about this information, please contact your UnitedHealthcare Customer Service Center
at the number on the back of your ID card.

                                                                Very truly yours,




                                                                Christopher Hock
                                                                Broker & Employer Operations
                                                                UnitedHealthcare
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                               Neighborhood Health Partnership
                                7600 Corporate Center Drive
                                      Miami,FL 33126

                                       Mailing Address

                                         Po Box 5210
                                   Kingston,NY 12402-5210

                                      Customer Service
                                        305-715-2500
                                       1-800-354-0222
                                      TTY 305-715-2322
                           Spanish speaking members: 888-414-3245

                      Monday through Friday between 8am and 6pm EST

                    Online directory and member information www.myuhc.com




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                  Neighborhood Health Partnership, Inc.

                     GROUP SERVICE AGREEMENT




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This Group Service Agreement ("Agreement") is
entered into by and between Neighborhood Health
Partnership, Inc. ("NHP") and the "Group," as
described in Exhibit 1.

When used in this document, the words "we," "us,"
and "our" are referring to NHP.

Upon our receipt of the Group’s signed application
and payment of the first Premium Due Date, this
Agreement is deemed executed.

We agree to provide Benefits for Covered Health
Services set forth in this Agreement, including the
attached Member Handbook (Handbook) and
Summary of Benefits subject to the terms,
conditions, exclusions, and limitations of this
Agreement. The Group’s application is made a part
of this Agreement.

This Agreement replaces and overrules any previous
agreements relating to Benefits for Covered Health
Services between the Group and us. The terms and
conditions of this Agreement will in turn be
overruled by those of any subsequent agreements
relating to Benefits for Covered Health Services
between the Group and us.

We will not be deemed or construed as an employer
or plan administrator for any purpose with respect
to the administration or provision of benefits under
the Group’s benefit plan. We are not responsible for
fulfilling any duties or obligations of an employer or
plan administrator with respect to the Group’s
benefit plan.

This Agreement will become effective on the date
specified in Exhibit 1 and will be continued in force
by the timely payment of the required Premium
when due, subject to termination of this Agreement
as provided in Article 5.

When this Agreement is terminated, as described in
Article 5, this Agreement and all Benefits under this
Agreement end at 12:00 midnight on the date of
termination.

This Agreement is issued as described in Exhibit 1.

Issued By:
Neighborhood Health Partnership, Inc.




    CEO of the South Florida Health Plan




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                                                             effective date of the Cost Summary that was based
Article 1: Glossary of Defined                               on the Material Misrepresentation.
Terms
                                                             3.2 Computation of Monthly Charge
The terms used in this Agreement have the same
meanings given to those terms in Definitions of the          The Monthly Charge will be calculated based on the
attached Handbook.                                           number of Subscribers in each Coverage
                                                             Classification that we show in our records at the
Coverage Classification - one of the categories of           time of calculation. The Monthly Charge will be
coverage described in Exhibit 2 for rating purposes          calculated using the Premium rates in effect at that
(for example: Subscriber only, Subscriber and                time. Exhibit 1 describes the way in which the
spouse, Subscriber and children, Subscriber and              Monthly Charge is calculated.
family).
                                                             3.3 Adjustments to the Monthly Charge
Material Misrepresentation - any oral or written
communication or conduct, or combination of                  We may make retroactive adjustments for any
communication and conduct, that is untrue and is             additions or terminations of Subscribers or changes
intended to create a misleading impression in the            in Coverage Classification that are not reflected in
mind of another person. A misrepresentation is               our records at the time we calculate the Monthly
material if a reasonable person would attach                 Charge. We will not grant retroactive credit for any
importance to it in making a decision or determining         change occurring more than 60 days prior to the
a course of action, including but not limited to, the        date we received notification of the change from the
issuance of a policy or coverage under a policy,             Group.
calculation of rates, or payment of a claim.
                                                             The Group must notify us in writing within 60 days
                                                             of the effective date of enrollments, terminations, or
Article 2: Benefits                                          other changes. The Group must notify us in writing
                                                             each month of any change in the Coverage
Subscribers and their Enrolled Dependents are
                                                             Classification for any Subscriber. If premium taxes,
entitled to Benefits for Covered Health Services
                                                             guarantee or uninsured fund assessments, or other
subject to the terms, conditions, limitations and
                                                             governmental charges relating to or calculated in
exclusions set forth in the Handbook and Summary
                                                             regard to Premium are either imposed or increased,
of Benefits attached to this Agreement. Each
                                                             those charges will automatically be added to the
Handbook and Summary of Benefits, including any
                                                             Premium. In addition, any change in law or
Riders and Amendments, describes the Covered
                                                             regulation that significantly affects our cost of
Health Services, required Copayments, and the
                                                             operation will result in an increase in Premium in an
terms, conditions, limitations and exclusions related
                                                             amount we determine.
to coverage.
                                                             3.4 Payment of the Monthly Charge
Article 3: Premium Rates and
Monthly Charges                                              The Monthly Charge is payable to us in advance by
                                                             the Group as described under "Payment of the
3.1 Premiums                                                 Monthly Charge" in Exhibit 1. The first Monthly
                                                             Charge is due and payable on or before the effective
Monthly Premiums payable by or on behalf of                  date of this Agreement. Subsequent Monthly
Covered Persons are specified in the Cost Summary            Charges are due and payable no later than the first
or in any attached Notice of Change as described in          day of each payment period specified in item 6 of
Exhibit 2 of this Agreement.                                 Exhibit 1, while this Agreement is in force.

We reserve the right to change the Cost Summary as           All payments shall be made in United States dollars,
described in Exhibit 1 of this Agreement. We also            in immediately available funds, and shall be remitted
reserve the right to change the Cost Summary at any          to us at the address set forth in the Group’s
time if the Cost Summary was based upon a Material           application or at such other address as we may
Misrepresentation relating to health status that             from time to time designate in writing. The Group
resulted in the Premium rates being lower than they          agrees not to send us payments marked "paid in
would have been if the Material Misrepresentation            full", "without recourse", or similar language. In the
had not been made. We reserve the right to change            event that the Group sends such a payment, we
the Cost Summary for this reason retroactive to the          may accept it without losing any of our rights under



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this Agreement and the Group will remain obligated              5.1 Conditions for Termination of the
to pay any and all amounts owed to us.                          Entire Agreement

A service charge will be assessed for any                       This Agreement and all benefits for covered health
non-suffecient-fund check received in payment of                services under this Agreement will automatically
the Monthly Charge.                                             terminate on the earliest of the dates specified
                                                                below:
The Group must reimburse us for attorney’s fees
                                                                A.   At our option, retroactive to the last paid date of
and any other costs related to collecting delinquent
                                                                     coverage if the grace period expires and the
Monthly Charges.
                                                                     Monthly Charge remains unpaid on the due date.
3.5 Grace Period                                                B.   On the date specified by the Group, after at least
                                                                     31 days prior written notice to us that this
A grace period of 31 days will be granted for the                    Agreement is to be terminated.
payment of any Monthly Charge not paid when due.
                                                                C.   On the date we specify, after at least 45 days prior
During the grace period, this Agreement will
                                                                     written notice to the Group, that this Agreement is
continue in force. The grace period will not extend
                                                                     to be terminated due to the Group’s violation of the
beyond the date this Agreement terminates.
                                                                     participation and/or contribution rules as shown in
                                                                     Exhibit 1.
The Group is liable for payment of the Monthly
Charge during the grace period.                                 D.   On the date we specify, after at least 45 days prior
                                                                     written notice to the Group, that this Agreement is
This Agreement terminates as described in Article                    to be terminated because the Group performed an
5.1 if the grace period expires and the past due                     act, practice or omission that constituted fraud or
Monthly Charge remains unpaid.                                       made an intentional misrepresentation of a fact
                                                                     that was material to the execution of this
Article 4: Eligibility and Enrollment                                Agreement or to the provision of coverage under
                                                                     this Agreement. In this case, we have the right to
4.1 Eligibility Conditions or Rules                                  rescind this Agreement back to either:

Eligibility conditions or rules for each class are                        The effective date of this Agreement.
stated in the corresponding Exhibit 2. The eligibility                    The date of the act, practice or omission, if
conditions stated in Exhibit 2 are in addition to                         later.
those specified in Handbook.                                    E.   On the anniversary renewal date we specify, after
                                                                     at least 90 days prior written notice to the Group
4.2 Initial Enrollment Period                                        and to each Subscriber, that this Agreement is to
                                                                     be terminated because we will no longer issue this
Eligible Persons and their Dependents may enroll                     particular type of group health benefit plan within
for coverage under this Agreement during the Initial                 the applicable market.
Enrollment Period. The Initial Enrollment Period is
determined by the Group.                                        F.   On the anniversary renewal date we specify, after
                                                                     at least 180 days prior written notice to the
4.3 Open Enrollment Period                                           applicable state authority, the Group and to each
                                                                     Subscriber, that this Agreement is to be terminated
An Open Enrollment Period will be provided                           because we will no longer issue any employer
periodically for each class, as specified in the                     health benefit plan within the applicable market.
corresponding Exhibit 2. During an Open
Enrollment Period, Eligible Persons may enroll for              If we fail to provide the 45 days’ notice required
coverage under this Agreement.                                  under A, C or D above, this Agreement shall remain
                                                                in effect at the existing rates until 45 days after the
4.4 Effective Date of Coverage                                  notice is given or until the effective date of
                                                                replacement coverage obtained by the Group,
The effective date of coverage for properly enrolled            whichever occurs first.
Eligible Persons and their Dependents is stated in
Exhibit 2.                                                      5.2 Payment and Reimbursement Upon
                                                                Termination
Article 5: Agreement Termination


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Upon any termination of this Agreement, the Group             by one of our authorized executive officers. No
is and will remain liable to us for the payment of any        agent has authority to change this Agreement or to
and all Premiums which are unpaid at the time of              waive any of its provisions.
termination.
                                                              6.5 Relationship between Parties
Article 6: General Provisions
                                                              The relationships between us and Network
6.1 Entire Agreement                                          providers, and relationships between us and
                                                              Groups, are solely contractual relationships between
This Agreement, including the Handbook, the                   independent contractors. Network providers and
Summary of Benefits, the application of the Group,            Groups are not our agents or employees, nor are we
and any Amendments, Notices of Change, and                    or any of our employees an agent or employee of
Riders, constitute the entire Agreement between the           Network providers or Groups.
parties. All statements made by the Group or by a
Subscriber will, in the absence of fraud, be deemed           The relationship between a Network provider and
representations and not warranties.                           any Covered Person is that of provider and patient.
                                                              The Network provider is solely responsible for the
6.2 Dispute Resolution                                        services provided by it to any Covered Person. The
                                                              relationship between any Group and any Covered
No legal proceeding or action may be brought until            Person is that of employer and employee,
the parties have attempted, in good faith, to resolve         Dependent, or any other category of Covered
the dispute amongst themselves. In the event the              Person described in the Coverage Classifications
dispute is not resolved within 30 days after one              specified in this Agreement.
party has received written notice of the dispute from
the other party, and both parties wish to pursue the          The Group is solely responsible for enrollment and
dispute further, the dispute may be submitted to              Coverage Classification changes (including
arbitration as set forth below.                               termination of a Covered Person’s coverage) and for
                                                              the timely payment of the Monthly Charges.
The parties acknowledge that because this
Agreement affects interstate commerce, the Federal            6.6 Records
Arbitration Act applies. If the Group wishes to seek
further review of the decision or the complaint or            The Group must furnish us with all information and
dispute, it may submit the decision, complaint or             proofs which we may reasonably require with
dispute to arbitration pursuant to the rules of the           regard to any matters pertaining to this Agreement.
American Arbitration Association.                             We may at any reasonable time inspect:

The matter should be submitted to arbitration within                   All documents furnished to the Group by
one year of the date notice of the dispute was                         an individual in connection with coverage.
received. The arbitrators will have no power to                        The Group’s payroll.
                                                                       Any other records pertinent to the
award any punitive or exemplary damages or to
                                                                       coverage under this Agreement.
vary or ignore the provisions of this Agreement, and
are bound by controlling law.
                                                              By accepting Benefits under this Agreement, each
                                                              Covered Person authorizes and directs any person
6.3 Time Limit on Certain Defenses
                                                              or institution that has provided services to him or
                                                              her, to furnish us or our designees any and all
No statement made by the Group, except a
                                                              information and records or copies of records
fraudulent statement, can be used to void this
                                                              relating to the health care services provided to the
Agreement after it has been in force for a period of
                                                              Covered Person. We have the right to request this
two years.
                                                              information at any reasonable time. This applies to
                                                              all Covered Persons, including Enrolled Dependents
6.4 Amendments and Alterations
                                                              whether or not they have signed the Subscriber’s
                                                              enrollment form.
Amendments to this Agreement are effective 31 days
after we send written notice to the Group. Riders are
                                                              We agree that such information and records will be
effective on the date we specify. Other than changes
                                                              considered confidential. We have the right to release
to Exhibit 2 stated in a Notice of Change to Exhibit
                                                              any and all records concerning health care services
2, no change will be made to this Agreement unless
                                                              which are necessary to implement and administer
made by an Amendment or a Rider which is signed



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the terms of this Agreement including records                 it is scheduled to terminate according to the terms
necessary for appropriate medical review and                  of this Agreement. Upon discovery of a clerical
quality assessment or as we are required by law or            error, any necessary appropriate adjustment in
regulation.                                                   Premiums will be made. However, we will not grant
                                                              any such adjustment in Premiums or coverage to
During and after the term of this Agreement, we and           the Group for more than 60 days of coverage prior
our related entities may use and transfer the                 to the date we received notification of the clerical
information gathered under this Agreement for                 error.
research and analytic purposes.
                                                              6.11 Workers’ Compensation Not
6.7 Administrative Services                                   Affected

The services necessary to administer this                     Benefits provided under this Agreement do not
Agreement and the Benefits provided under it will be          substitute for and do not affect any requirements for
provided in accordance with our standard                      coverage by workers’ compensation insurance.
administrative procedures or those standard
administrative procedures of our designee. If the             6.12 Conformity with Law
Group requests that administrative services be
provided in a manner other than in accordance with            Any provision of this Agreement which, on its
these standard procedures, including requests for             effective date, is in conflict with the requirements of
non-standard reports, the Group must pay for such             state or federal statutes or regulations (of the
services or reports at the then current charges for           jurisdiction in which this Agreement is delivered) is
such services or reports.                                     deemed to be amended to conform to the minimum
                                                              requirements of those statutes and regulations.
We may offer to provide administrative services to
the Group for certain wellness programs including,            6.13 Notice
but not limited to, fitness programs, biometric
screening programs and wellness coaching                      When we provide written notice regarding
programs.                                                     administration of this Agreement to an authorized
                                                              representative of the Group, that notice is deemed
6.8 Employee Retirement Income                                notice to all affected Subscribers and their Enrolled
Security Act (ERISA)                                          Dependents. The Group is responsible for giving
                                                              notice to Covered Persons on a timely basis.
When this Agreement is purchased by the Group to
provide benefits under a welfare plan governed by             Any notice sent to us under this Agreement and any
the federal Employee Retirement Income Security               notice sent to the Group must be addressed as
Act 29 U.S.C., 1001 et seq., we will not be named             described in Exhibit 1.
as, and will not be, the plan administrator or the
named fiduciary of the welfare plan, as those terms           6.14 Continuation Coverage
are used in ERISA.
                                                              We agree to provide Benefits under this Agreement
6.9 Examination of Covered Persons                            for those Covered Persons who are eligible to
                                                              continue coverage under federal or state law, as
In the event of a question or dispute concerning              described in the Handbook.
Benefits for Covered Health Services, we may
reasonably require that a Network Physician,                  We will not provide any administrative duties with
acceptable to us, examine the Covered Person at               respect to the Group’s compliance with federal law.
our expense.                                                  All duties of the plan sponsor or plan administrator
                                                              remain the sole responsibility of the Group,
6.10 Clerical Error                                           including but not limited to notification of COBRA
                                                              law continuation rights and billing and collection of
Clerical error will not deprive any individual of             Premium.
Benefits under this Agreement or create a right to
Benefits. Failure to report enrollments will not be           6.15 Certification of Coverage Forms
considered a clerical error and will not result in
retroactive coverage for Eligible Persons. Failure to
report the termination of coverage will not continue
the coverage for a Covered Person beyond the date



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As required by the federal Health Insurance                              other than as expressly permitted under
Portability and Accountability Act of 1996 (HIPAA),                      this Agreement.
we will produce certification of coverage forms for                      Share, transfer or lease its right to access
Covered Persons who lose coverage under this                             and use systems, to any other person or
Agreement. The Group agrees to provide us with all                       entity which is not a party to this
necessary eligibility and termination data.                              Agreement.
Certification of coverage forms will be based on
eligibility and termination data that the Group                 The Group may designate any third party to access
provides to our eligibility systems in accordance               systems on its behalf, provided the third party
with our data specifications, and which is available            agrees to these terms and conditions of systems
in our eligibility systems as of the date the form is           access and the Group assumes joint responsibility
generated. The certification of coverage forms will             for such access.
only include periods of coverage that we administer
under this Agreement.                                           Security Procedures

6.16 Subscriber’s Individual Handbook                           The Group will use commercially reasonable
                                                                physical and software-based measures, and comply
We will issue the Handbook, Summary of Benefits                 with our security procedures, as may be amended
and any attachments to the Group for delivery to                from time to time, to protect the system, its
each covered Subscriber. The Handbook, Summary                  functionalities, and data accessed through systems
of Benefits and any attachments will show the                   from any unauthorized access or damage (including
Benefits and other provisions of this Agreement. In             damage caused by computer viruses). The Group
addition, you may have access to your Handbook                  will notify us immediately if any breach of the
and Summary of Benefits online at                               security procedures, such as unauthorized use, is
www.myuhc.com.                                                  suspected.

6.17 System Access                                              System Access Termination

The term "systems" as used in this provision means              We reserve the right to terminate the Group’s
our systems that we make available to the Group to              system access:
facilitate the transfer of information in connection
with this Agreement.
                                                                         On the date the Group fails to accept the
System Access                                                            hardware, software and browser
                                                                         requirements provided by us, including
We grant the Group the nonexclusive,                                     any amendments to the requirements.
nontransferable right to access and use the                              Immediately on the date we reasonably
functionalities contained within the systems, under                      determine that the Group has breached,
the terms set forth in this Agreement. The Group                         or allowed a breach of, any applicable
agrees that all rights, title and interest in the systems                provision of this Agreement. Upon
and all rights in patents, copyrights, trademarks and                    termination of this Agreement, the Group
trade secrets encompassed in the systems will                            agrees to cease all use of systems, and we
remain ours. In order to obtain access to the                            will deactivate the Group’s identification
systems, the Group will obtain, and be responsible                       numbers and passwords and access to
for maintaining, at no expense to us, the hardware,                      the system.
software and Internet browser requirements we
provide to the Group, including any amendments to               6.18 Summary of Benefits and Coverage
those requirements. The Group is responsible for
obtaining an internet service provider or other                 We will provide a Summary of Benefits and
access to the Internet.                                         Coverage ("SBC") , as required by the Affordable
                                                                Care Act and associated regulations ("ACA"), to the
The Group will not:                                             Group for each benefit plan purchased by the
                                                                Group. The Group shall be responsible for delivering
                                                                the SBC to all Covered Persons and to other
          Access systems or use, copy, reproduce,               persons eligible for coverage in the manner and at
          modify, or excerpt any of the systems                 the times required by the ACA, unless we notify the
          documentation provided by us in order to              Group that we will deliver the SBC to Covered
          access or utilize systems, for purposes               Persons and other persons eligible for coverage.



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                                                   Exhibit 1
1.   Parties. The parties to this Agreement are Neighborhood Health Partnership, Inc. and the Group.
2.   Effective Date of this Agreement. The effective date of this agreement is 12:01 a.m. as stated on the
     Application in the time zone of the Group’s location.
3.   Place of Issuance. We are delivering this Agreement in the State of Florida. This Agreement is governed
     by ERISA. To the extent that state law applies, the laws of the State of Florida are the laws that govern this
     Agreement.
4.   Premiums. We reserve the right to change the Cost Summary specified in Exhibit 2, after a 31-day prior
     written notice on the first anniversary of the effective date of this Agreement specified in the application or
     on any monthly due date thereafter, or on any date the provisions of this Agreement are amended. We
     also reserve the right to change the Cost Summary, retroactive to the effective date, if a Material
     Misrepresentation relating to health status has resulted in a lower schedule of rates.
5.   Computation of Monthly Charge. A full month’s Premium will be charged for any Covered Person who is
     covered under this Agreement for any portion of a calendar month.
6.   Payment of the Monthly Charge. The Monthly Charge is payable to us in advance by the Group on a
     monthly basis.
7.   Minimum Participation Requirement. The minimum participation requirement for the Group is 75% of
     Eligible Persons excluding spousal waivers but no less than 50% of all Eligible Persons.
8.   Minimum Contribution Requirement. The Group must maintain a minimum contribution requirement of
     50% of the Premium for each Eligible Person.
9.   Notice. Any notice sent to us under this Agreement must be addressed to:
     Neighborhood Health Partnership, Inc.
     PO Box 5210
     Kingston, NY 12402-5210


     Any notice sent to the Employer Group under this Agreement must be addressed to the Employer Group’s
     last address on file.




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                                                    Exhibit 2
1.   Class Description.
     See Application.
2.   Eligibility. The eligibility rules are established by the Group. The following eligibility rules are in addition to
     the eligibility rules specified in the Employer Application and/or in Individual Enrollment, Termination of
     Coverage and Conversions in the Handbook.
     The waiting or probationary period for newly Eligible Persons is as stated on the applicatio n.
3.   Open Enrollment Period. An Open Enrollment Period of at least 31 days will be provided by the Group
     during which Eligible Persons may enroll for coverage. The Open Enrollment Period will be provided on an
     annual basis.
4.   Effective Date for Eligible Persons. The effective date of coverage for Eligible Persons who are eligible on
     the effective date of this Agreement is July 1, 2018 .
     For an Eligible Person who becomes eligible after the effective date of this Agreement, his or her effective
     date of coverage is the first day of the month following the last day of the required waiting period. Any
     required waiting period will not exceed 90 days.
5.   Schedule of Premium Rates.
     Monthly Premiums payable by or on behalf of Covered Persons are specified in the Cost Summary
     detailed through the new business premium confirmation process and renewal package.




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